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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

HIGHMARK, INC.                       §
                                     §
VS.                                  §   CIVIL NO. 4:03-CV-1384-Y
                                     §
ALLCARE HEALTH MANAGEMENT            §
SYSTEMS, INC.                        §


                             FINAL JUDGMENT

      Before the Court is the Plaintiff’s unopposed motion [doc. #505]

to withdraw without prejudice counts II and III of its First Amended

Complaint. Having reviewed the motion, and in accordance with Federal

Rule of Civil Procedure 58, the Court orders these claims, the only

claims that remain pending in the above-styled and -numbered cause,

DISMISSED WITHOUT PREJUDICE.      All costs under 28 U.S.C. § 1920 are

taxed against the party incurring them.

      SIGNED October 14, 2008.



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                                         TERRY R. MEANS
                                         UNITED STATES DISTRICT JUDGE
